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                                                                                         APR 14 2021
                                 UNITED STATES DISTRICT COURT                          U. S. DISTRICT COURT
                                                                                     EASTERN DISTRICT OF MO
                                 EASTERN DISTRICT OF MISSOURI                                ST. LOUIS

 UNITED STATES OF AMERICA,                               )
                                                         )
      Plaintiff,                                         )
                                                         ) ~------------~
 V.                                                      )

 JACKSON PRESTON SIPLES III,                             j 4:21CR254 HEA/NCC
                                                         )
      Defendant.                                         )

                                             INDICTMENT

The Grand Jury charges that:

                                            BACKGROUND

         1.        At all times relevant to this indictment, defendant Jackson Preston Siples III ("the

Defendant") was a resident of Cape Girardeau County, Missouri. Since in or about 2017, the

Defendant has been an employee of or an owner of several durable medical equipment ("DME")

companies, including AE Wellness, Integrity Medical Supply, and Radiance Health Group. DME

includes, but is not limited, to orthotic braces, canes, crutches, walkers, wheelchairs, and hospital

beds.

         2.        At all times relevant to this indictment, co-schemer Brandy McKay was a resident

of Cape Girardeau County, Missouri. After receiving EMT training, McKay worked in the health

care field in various capacities, including as a medical assistant at the Ferguson Medical Group

in Sikeston, Missouri, in the dialysis unit at St. Francis Hospital in Cape Girardeau, Missouri,

and as an office manager at Jackson Healing Arts from 2009 until 2015. Since 2015, McKay has

owned or managed at least ten companies that sold DME to patients, including AE Wellness,

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MC Medical Supply, Integrity Medical Supply, and McKay Management Co.

       3.      At all times relevant to this indictment, co-schemer Jamie McCoy ("McCoy") was

a resident of Cape Girardeau County, Missouri. From in or about 2013 to at least 2019, McCoy

was employed in the health care field. Since in or about 2015, he has owned or operated several

DME companies, including AE Wellness, LLC, Summit Medical Supply, Patriot Medical

Supply, and DME Device Co.

       4.      At all times relevant to this indictment, the Defendant, McCoy, and McKay

owned or operated companies that provided orthotic braces and other DME to patients and

submitted, or caused to be submitted, reimbursement claims to Medicare, Medicaid, Tricare, and

other health care benefit programs for DME.

                                 Relevant Medicare Provisions

       5.      The United States Department of Health and Human Services, through the

Centers for Medicare and Medicaid Services ("CMS"), administers the Medicare Program,

which is a federal health care benefits program for the elderly and disabled. Medicare Part B

reimburses health care providers for covered health services that they provide to Medicare

beneficiaries in outpatient settings. Medicare Part B reimburses providers for DME that is
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medically necessary and ordered by a medical doctor or other qualified Medicare provider.

       6.      The Medicare Advantage Program, known as Medicare Part C, offers

beneficiaries a managed care option by allowing individuals to enroll in private health plans

rather than having their care covered through Medicare Part A or Part B. CMS contracts with

Medicare Advantage programs to provide medically necessary health services to beneficiaries; in

return, CMS makes monthly payments for enrolled beneficiaries to the Medicare Advantage
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 programs.

         7.     CMS acts through fiscal agents called Medicare Administrative Contractors or

 "MACs" which are statutory agents for CMS for Medicare Part B. The MACs are private entities

 that review claims and make payments to providers for services rendered to Medicare

 beneficiaries. The MACs are responsible for processing Medicare claims arising within their

 assigned geographic areas, including determining whether the claim is for a covered service.

         8.     To receive Medicare reimbursement, providers must make an appropriate

 application to the MAC and execute a written provider agreement. The provider agreement

 obligates the provider to know, understand, and follow all Medicare regulations and rules. After

 successful completion of the application process, the MAC assigns the provider a unique

· provider number, which is a necessary identifier for billing purposes.

         9.     Medicare providers must retain clinical records for the period required by state

 law or five years from the date of discharge if there is no requirement in state law.

  Enrollment in Medicare

         10.     Between December 2015 and December 2018, the Defendant, McKay, and

 McCoy .completed and signed several Medicare enrollment applications. Contained in the

 enrollment applications was Section 13, entitled "Penalties for Falsifying Information" which

 informed the applicant that he or she could be criminally prosecuted for (a) executing or

 attempting to execute a health care fraud scheme or using false or fraudulent statements or

 representations to obtain money from a health care benefit program; or (b) making or using false

 or fraudulent statement.s or representations in connection with the delivery or payment for health

 care benefits, items, or services.
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       11.     On or about November 13, 2017, the Defendant completed a Medicare provider

enrollment application for Integrity Medical, which application contained Section 13, "Penalties

for Falsifying Information," and Section 15, "Certification Statement," The Defendant signed the

"Certification Statement" of the applications and thereby certified:

       I have read and understand the Penalties for Falsifying Information, as printed in
       the application. I understand that any deliberate omission, misrepresentation, or
       falsification of any information . . . contained in any communication supplying
       information to Medicare ... [may be criminally prosecuted].

       I agree to abide by the Medicare laws, regulations and program instructions . . .
       including the Federal anti-kickback statute ...

       I will not knowingly present or cause to be presented a false or fraudulent claim for
       payment by Medicare, and will not submit claims with deliberate ignorance or
       reckless disregard of their truth or falsity.


       12.     On or about December 6, 2018, the Defendant completed a Medicare provider

enrollment application for Radiance Health Group and identified himself as the owner, manager,

and director of Radiance Health Group. The provider enrollment application contained the same

Section 13, "Penalties for Falsifying Information," and Section 15, "Certification Statement,"

described above. Thus~ the Defendant received notice on at least two occasions of the penalties

for providing false information to Medicare and certified that he would comply with the laws,

regulations, and policies applicable to Medicare.

       13.     As part of the Medicare provider enrollment application for AE Wellness and

Patriot Medical Supplies, on or about December 12, 2015, December 12, 2016, January 11,

2017, and May 31, 2017, co-schemer McCoy signed the "Certification Statement" of the

applications. These Medicare provider enrollment applications contained the same Section 13,

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"Penalties for Falsifying Information," and Section 15, "Certification Statement," described

above. Thus, McCoy received notice on multiple occasions of the penalties for providing false

information to Medicare and repeatedly certified that he would comply with the laws,

regulations, and policies applicable to Medicare.

       14.     Between November 13, 2017 and March 2, 2018, co-schemer McKay completed

several Medicare provider enrollment applications, including one on or about November 13,

2017, for MC Medical Supply. These Medicare provider enrollment applications contained the

same Section 13, "Penalties for Falsifying Information," and Section 15, "Certification

Statement," described above. Thus, McKay received notice on multiple occasions of the

penalties for providing false information to Medicare and repeatedly certified that she would

comply with the laws, regulations, and policies applicable to Medicare.

                             Relevant Missouri Medicaid Provisions

       15.     MO HealthNet administers the Missouri Medicaid Program, which is jointly

funded by the State of Missouri and the federal government. Missouri Medicaid reimburses

health care providers for covered services rendered to eligible low-income Medicaid recipients.

       16.     A Medicaid provider must enter into a written agreement with MO HealthNet to

receive reimbursement for medical services to Medicaid recipients and must agree to abide by

MO HealthNet regulations in rendering and billing for those services.

       17.     On or about April 19, 2018, as the "owner/CEO," co-schemer McKay signed a

Missouri Medicaid provider agreement containing the following language:

              By my signature below, I, the applying provider, read and agree that, upon
       the acceptance of my enrollment, I will participate in the Vendor Payment plan. I
       am responsible for all services provided and all billing done under my provider
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       number regardless to whom the reimbursement is paid. It is my legal responsibility
       to ensure that the proper billing code is used and indicate the length of time I
       actually spend providing services regardless to whom the reimbursement is paid. I
       agree to be financially responsible for all services, which are not documented. I
       agree the Missouri Title XIX Medicaid manual, bulletins, rules, regulations and
       amendments thereto shall govern and control my delivery of services and further
       agree to the following terms:

               I agree that it is my responsibility to access manual materials that are
       available from DMS over the Internet. I will comply with the Medicaid manual,
       bulletins, rules, and regulations as required by the Division of Medical Services and
       the United State Department of Health and Human Services in the delivery of
       services and merchandise and in submitting claims for payment. I understand that
       in my field of participation I am not entitled to Medicaid reimbursement if I fail to
       so comply, and that I can be terminated from the program for failure to comply.

       18.     Medicaid providers must retain, for five years from the date of service, fiscal and

medical records that reflect and fully document services billed to Medicaid and must furnish or

make the records available for inspection or audit by the Missouri Department of Social Services

or its representative upon request. Failure to furnish, reveal, or retain adequate documentation for

services billed to the Medicaid Program may result in recovery of the payments for those

services not adequately documented and may result in sanctions to the provider's participation in

the Medicaid Program. This policy continues to apply in the event of the provider's

discontinuance as an actively participating Medicaid provider through
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                                                                      the. change of ownership

or any other circumstance.

                                  Relevant Tricare Provisions

       19.      Tricare is a federally funded program that reimburses for health care services

provided to active, retired, reserve, guard, and uniformed service members and their families.

The Defense Health Agency ("DHA") is a joint, integrated agency that supports the delivery of

health services to military health system beneficiaries. DHA exercises management
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responsibility for Tricare and receives, processes, and pays claims on behalf ofTricare.

                              Relevant Telemedicine Requirements

       20.     Telemedicine, also referred to as telehealth medicine, is the use of information

technology by doctors and other authorized health care prov1ders to provide clinical health care

from a distance. Telemedicine includes, but is not limited to, real-time audio or video

communication between patients in one location and the doctor or authorized health care

provider in another location. In all instances, telemedicine doctors or other authorized health care

providers are required to conduct an evaluation and assessment sufficient to determine the

patients' medical needs before prescribing or ordering any service or product, including DME

equipment, genetic testing, and medications.

                                 Federal Anti-Kickback Statute

       21.     Compliance with the Anti-Kickback Statute Act (42 U.S.C. § 1320a-7b(b))

("AKS") is a condition of payment for both Medicare and Medicaid. In other words, Medicare

and Medicaid will not pay for services that are provided in violation of the AKS.

       22.     The AKS makes it a criminal offense for any person to knowingly and willfully

solicit, offer, pay or receive remuneration in return for or to induce any person to refer,

recommend, furnish, or arrange for the furnishing of any items, goods, and services, paid in

whole or in part by any federally funded health care program. Both parties to such an

arrangement may be criminally liable if one purpose of the arrangement is to obtain

remuneration for the referral of services or to induce referrals.

       23.     Remuneration is broadly defined as anything of value, including money, goods,

services, or the release or forgiveness of a financial obligation that the other party would
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normally have to pay. In passing the AKS, Congress intended to prohibit financial incentives that

could affect the medical judgment of those providing or referring patients for health care

services.

                                          Counts 1-6
                                  Health Care Fraud Scheme
                                 18 U.S.C. §§ 1347(a)(l) and 2

       24.     Paragraphs 1 to 23 are incorporated by reference as if fully set out herein.

       25.     It was part of the scheme and artifice to defraud that the Defendant,

McKay, and McCoy incorporated and operated the businesses, identified below, and used

these businesses as vehicles to commit the criminal offenses .described below.

AE Wellness

       26.     On or about January 19, 2015, McCoy incorporated AE Wellness, a DME

company doing business as Summit Medical Supply, and listed himself as the organizer and

registered agent. On or about August 30, 2016, AE Wellness became a Medicare provider.

       27.     In or about February 2017, co-schemer McKay began working for AE Wellness

as the office manager and compliance officer. She was responsible for billing for AE Wellness

and Patriot Medical Supplies, dealing with patient complaints, and handling Medicare audits.

       28.     From about April 2017 to late 2017, the Defendant managed the day-to-day

operations at AE Wellness. His duties included, among others, receiving orders for DME,

arranging for the DME to be shipped to patients' homes, and payment for the orders and DME.

       29.     While employed at AE Wellness, the Defendant, McKay, and McCoy received

Medicare compliiffice training, which included training on the federal Anti-Kickback Statute..

They were informed and therefore knew it was illegal to solicit, offer, pay, or receive kickback
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payments in exchange for referring patients, items, or services which were to be reimbursed by

Medicare or Medicaid.

       30.     It was part of the scheme and artifice to defraud that co-schemer McCoy

contracted with marketing firms to identify patients for AE Wellness and paid the marketing

companies for each referral sent to AE Wellness. The marketing companies ran television and

online ads offering orthotic braces, at no cost, to the patients. When a patient responded to the

ad, an employee of the call center collected pertinent information, including the patient's name

and address, name of the patient's primary care physician, insurance information, Medicare

number, and areas of pain.

       31.     It was part of the scheme and artifice to defraud that the marketing company then

sent the patient information to a telemedicine doctor, who ordered the DME equipment. The

telemedicine doctor had no prior doctor-patient relationship with the patients, did not directly

communicate with the patients in most cases, and did not evaluate or assess the patients' need for

the DME and other items. The order signed by the telemedicine doctor, called a "lead" or a "full

lead," was then electronically transmitted to a marketing company, which sold the leads to DME

companies.

       32.     It was part of the scheme and artifice to defraud that while the fraud scheme was

ongoing, McCoy used several individuals and marketing companies to generate leads and

:frequently changed companies because of the large number of patient complaints that AE

Wellness received. Patients or the patient representatives routinely complained that they had not

requested and did not need or want the orthotic braces.


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       33.     One of the individuals from whom McCoy bought leads was A.W. who at times

sent AE Wellness 100 to 300 leads per week. McCoy and A.W. agreed that A.W. would receive

70-80% of the AE Wellness profits in return for A.W. sending leads and paying for orthotic

braces and the costs associated with shipping the braces to patients.

       34.     It was also part of the scheme and artifice to defraud that co-schemer McCoy had

an agreement with R.F. to buy both "raw" and "full" leads from R&L Senior Marketing

("R&L"), which was owned by R.F. McCoy paid R&L about $35 to $40 for each "raw lead,"

which was a lead that did not include a doctor's order and paid R&L about $280 to $300 for a

"full lead," which was a lead that included a doctor's order. McCoy paid R&L about $10,000 to

$15,000 per month for leads.

       35.     It was part of the scheme and artifice to defraud that from about September 2016

until about August 2017, the Defendant, McKay, and McCoy submitted or caused AE Wellness

to submit reimbursement claims, totaling $6,028,505, to Medicare for the DME provided to

patients based on the leads. The Defendant, McKay, and McCoy knew Medicare would not pay

for items or services obtained by illegal kickbacks.

       36.     On or about Juiy 28,2017, the Defendant received and signed for a letter from

AdvanceMed, a Medicare contractor, suspending AE Wellness' participation in the Medicare

Program. In the letter, AdvanceMed stated that AE Wellness was suspended by Medicare

because it had paid illegal kickbacks to doctors in exchange for sending orders for orthotic

braces to AE Wellness and had billed the Medicare Program for medically unnecessary services

when there was no prior relationship between the ordering physician and the patients.


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       37.    The Defendant, McCoy, and McKay were all aware of the Medicare suspension

letter and knew the reasons Medicare suspended AE Wellness. To circumvent the Medicare

suspension, the Defendant, McKay, and McCoy decided to open new DME companies and to

conceal McCoy's involvement in the new DME companies. Per their agreement, McKay opened

MC Medical and the Defendant opened Integrity Medical Supply.

MC Medical Supply

       38.    It was part of the scheme and artifice to defraud that on or about August 2017,

one month after AE Wellness's suspension, co-schemers McKay and McCoy agreed that McKay

would open her own DME business, to be called MC Medical Supply ("MC Medical") and

located in Cape Girardeau, Missouri. McKay invested $13,000 and McCoy loaned McKay an

additional $20,000 to start MC Medical. McKay and McCoy agreed that McCoy would be paid

$100,000 annually for his assistance and they would split MC Medical profits "50/50."

       3 9.   It was part of the scheme and artifice to defraud that McKay completed the

Medicare provider enrollment application for MC Medical on or about November 13, 2017 and

again on March 2, 2018 and listed herself as the sole owner. McKay intentionally concealed

McCoy's involvement in MC Medical, despite being advised in the enrollment application that

she could be prosecuted for submitting false information in the Medicare application. McKay

feared that Medicare would not approve the application if McCoy was involved, because his

company, AE Wellness, had just been suspended months before and AE Wellness still had not

repaid Medicare for the payments received based on the earlier fraudulent claims.

       40.    It was further part of the scheme and artifice to defraud that just as they had done

at AE Wellness, McKay paid illegal kickbacks for leads or doctors' orders that marketing
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companies sent to MC Medical. The amount McKay and MC Medical paid for a lead or order

varied depending on the type of brace.

       41.     From June 5, 2018 to March 21, 2019, McKay submitted, and caused MC

Medical to submit, false and fraudulent reimbursement claims to Medicare, totaling $1,831,075,

and reimbursement claims to Tricare, totaling $15,540. At the time the false and fraudulent

claims were submitted, McKay knew that MC Medical had paid illegal kickbacks for the

referrals, knew Medicare would not pay for items or services obtained by illegal kickbacks, and

also knew Medicare would not pay for items or services which had not been determined to be

medically necessary by a doctor or an authorized health care professional.

Integrity Medical Supply

       42.     It was further part of the scheme and artifice to defraud that on or about October

4, 2017, with McCoy's assistance, the Defendant incorporated Integrity Medical Supply

("Integrity Medical"), a DME company in Cape Girardeau, Missouri. This was approximately

three months after AB Wellness was suspended by Medicare· because of allegations of fraud.

McCoy gave the Defendant $10,000 to $12,000 to help him start Integrity Medical. The

Defendant and McCoy agreed that McCoy would be a "silent partner" and they would split the
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profits oflntegrity Medical "50/50." The Defendant and McCoy further agreed that the

Defendant would pay McCoy $75,000 to $80,000 in "consulting" fees.

       4 3.    It was further part of the scheme and artifice to defraud that on or about

November 13, 2017, with McKay's assistance, the Defendant completed a Medicare provider

enrollment application for Integrity Medical. In the application, the Defendant identified himself


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as the owner, manager, and compliance officer for Integrity Medical Supply, but intentionally

excluded information about McCoy, although he and McCoy were partners in Integrity Medical.

       44.     It was further part of the scheme and artifice to defraud that the Defendant and

McCoy continued the practice of paying illegal kickbacks for leads from marketing companies,

just as they had done at AE Wellness. The amount the Defendant and McCoy paid for a lead

varied depending on the type of brace.

       45.     It was further part of the scheme and artifice to defraud that from on or about

March 8, 2018 to on or about March 13, 2019, the Defendant submitted, and caused Integrity

Medical to submit, false and fraudulent reimbursement claims to Medicare, totaling $6,027,173

and reimbursement claims to Tricare, totaling $145,614. At the time the claims were submitted,

the Defendant knew that Integrity Medical had paid illegal kickbacks for referrals, knew

Medicare would not pay for items or services obtained by illegal kickbacks, and also knew

Medicare would not pay for items or services which had not been determined to be medically

necessary by a doctor or an authorized healthcare professional.

Radiance Health Group

       46.     It was further part of the scheme and artifice to defraud that on or about

January 9, 2018, the Defendant incorporated Radiance Health Group ("Radiance"), a DME

company in Cape Girardeau, Missouri. In December 20, 2018; Radiance became a Medicare

provider, with the Defendant as the owner, director, and manager.

       47.     In 2019, the Defendant submitted, and caused Radiance to submit, false and

fraudulent reimbursement claims to Medicare, totaling $922,562. At the time the claims were

submitted, the Defendant knew that Radiance had paid illegal kickbacks for referrals, knew
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Medicare would not pay for items or services obtained by illegal kickbacks, and also knew

Medicare would not pay for items or services which had not been determined to be medically

necessary by a doctor or an authorized healthcare professional.

McKay Management Co.

       48.    It was further part of the scheme and artifice to defraud that in or about June

2018, the Defendant, McKay, and R. F. attended a marketing meeting in Memphis, TN to discuss

how their businesses would work together. At the meeting, R.F. proposed that R&L provide

marketing services to the DME companies, provide leads, and order and pay for the braces,

which would permit the DME companies to fill orders for braces without any upfront out-of-

pocket costs. The DME companies would then submit reimbursement claims to Medicare and

other insurers and pay R&L after receiving the reimbursement payments. The DME companies

would pay R&L for each lead received from R&L, pay for the braces purchased by R&L, and

split the profits with R&L. The DME companies would receive 15% of the profits and R.F.

would receive 85% of the profits.

       49.    It was further part of the scheme and artifice to defraud that the Defendant

accepted R.F.'s offer. According to the agreement with R.F., the Defendant received 15% of the

profits of Integrity Medical and per his earlier agreement with McCoy, the Defendant gave

McCoy 7 .5% of the profits.

       50.     McKay did not accept French's profit-sharing offer. Instead, McKay and R.F.

agreed that she would manage the DME companies, including those companies owned by the

Defendant, which were paying R&L for leads. To perform this management function, in or about

July 2018, McKay opened McKay Management Co. ("MMC").
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       51.    It was further part of the scheme and artifice to defraud that McKay, as directed

by R.F., charged the DME companies $250 for each lead or patient referred to the DME

companies that she managed. At various times, McKay simultaneously managed: (a) Integrity

Medical, owned by the Defendant; (b) Radiance Health Group, also owned by the Defendant; (c)

MC Medical, owned by McKay; (d) Cherry Medical Supply located in Chattanooga, TN and

owned by Curtis French; (e) Paradise Medical Solutions located in Miami Gardens, FL and

owned by Lateese Ford; (f) Helpful Home located in Miami Gardens, FL and owned by Terrance

French and Lateese Ford; (g) Perfect Motion located in Holiday, FL and owned by Terrance

French; (h) Embrace of Clearwater located in Clearwater, FL, and owned by Lateese Ford; (i)

M&M Medical located in Conyers, GA and owned by Marcus Moon; and G) JLynn Medical

Supply located in Atlanta, GA and owned by Lateese Ford.

       52.    It was further part of the scheme and artifice to defraud that McKay assisted R.F.

in acquiring and setting up new DME companies, in which French's ownership interest was

concealed. McKay knew the reason French acquired multiple DME companies was to "stay

under the radar" of Medicare, which was more likely to scrutinize and audit a company that

submitted large numbers of claims for orthotic braces.

       53.    McKay's responsibilities as the manager of these DME companies included

handling licensure for the DME companies, completing Medicare enrollment applications for the

companies, instructing the office staff at the DME companies how to handle calls from patients,

and creating spreadsheets and other documents reflecting the purchase and sale of orthotic braces

and reimbursements for the DME. McKay visited each of the DME compa_nies once every three

months and was paid $6,500 per month for each DME company that she managed.
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       54.     It was part of the scheme and artifice that at the end of the mont~ McKay

calculated the total reimbursements received by each DME company and then calculated the

85/15 profit split. For example, McKay determined that in August 2018, Integrity Medical

received $213,124.77 in reimbursements for orthotic braces provided to 309 patients. From this

reimbursement amount, the Defendant paid R.F. and R&L $77,250, or $250 for each of the 309

patients R&L had referred to Integrity Medical, and paid R.F. an additional $55,797.85 as his

85% share ofintegrity Medical's profit for the month. The Defendant received $9,846.68 or 15%

of Integrity Medical's profit of $65,644.53 for August 2018.

       55.     The Defendant knew the DME companies, including those that he, McKay, and

McCoy owned and operated, submitted claims for orthotic braces when no physician or qualified

health care professional had determined the patients' need for the braces. As an example, the

Defendant knew some of the DME companies that McKay managed submitted reimbursement

claims for knee braces. McKay and R.F. knew that certain tests had to be performed on the knees

to determine the medical necessity for knee braces and that the telemedicine doctors signing the

orders could not perform the required tests by phone.

Execution of the Fraud Scheme

       56.     On or about dates indicated below, in the Eastern District of Missouri and

elsewhere,

                             JACKSON PRESTON SIPLES III,

the Defendant herein, knowingly and willfully executed and attempted to execute, the above

described scheme and artifice to defraud Medicare, Tricare, and Missouri Medicaid, which are

health care benefit programs, in connection with the delivery and payment for health care
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benefits, items, and services, that is, the Defendant submitted and caused to be submitted false

and fraudulent reimbursement claims for orthotic braces based on orders, which telemedicine

doctors signed without determining medical necessity in exchange for illegal kickbacks and the

Defendant obtained the orders by paying illegal kickbacks to marketing companies and

individuals for refen-ing the orders to Integrity Medical Supply and Radiance Health Group.

 Count          Date of Service    Patient    DMECompany                    Insurer
 1              08/03/2018         W.R.       Integrity Medical Supply      Medicare
 2              09/21/2018         P.B.       Integrity Medical Supply      Medicare
 3              10/15/2018         A.L.       Integrity Medical Supply      Medicare
 4              03/21/2019         R.K.       Radiance Health Group         Medicare
 5              03/25/2019         RB.        Radiance Health Group         Medicare
 6              09/21/2018         R.W.       Integrity Medical Supply      Tricare

All in violation of Title 18, United States Code, Sections 1347(a)(l) and 2.

                                              Counts 7-8
                          False Statements Concerning Health Care Matters
                                     18 U.S.C. §§ 1035(a)(2) and 2

          57.      Paragraphs 1 to 23 and 25 to 55 are incorporated by reference as if fully set out

herein.

          58.       On or about the dates listed below, in the Eastern District of Missouri,

                                   JACKSON PRESTON SIPLES III,

the Defendant herein, in a matter involving a health care benefit program, knowingly and

willfully made and used a materially false writing and document knowing the same to contain

materially false, fictitious, and fraudulent statements and entries, in connection with the delivery

of and payment for health care benefits, items, and services, that is, the Defendant knowingly

and willfully submitted, or caused to submitted, to the Medicare Program reimbursement claims


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for 01ihotic braces, which claims falsely represented that the doctor listed on the order had

detennined the patients needed orthotic braces.

 Count        Date of        Patient       DMECompany                      Insurer
              Service
 7            09/21/18       C.A.          Integrity Medical Supply        Medicare
 8            11/29/18       B.A.          Integrity Medical Supply        Medicare

All in violation of Title 42, United States Code, Section 1035(a)(2) and Title 18, United

States Code, Section 2.

                                            Counts 9-15
                                  Illegal Kickbacks for Referrals
                          42 U.S.C. § 1320a-7b(b)(2)(A) and 18 U.S.C. § 2

        59.       Paragraphs 1 to 22 and 25 to 55 are incorporated by reference as if fully

set out herein.

        60.       On or about the dates indicated below, in the Eastern District of

Missouri,

                                 JACKSON PRESTON SIPLES Ill,

the Defendant herein, did knowingly and willfully offer and pay remuneration, (including a

kickback, bribe, and rebate) directly and indirectly, overtly and covertly, in cash and in kind, to

induce R&L Marketing to refer individuals for the furnishing and arranging for the furnishing of

items and services, for which payment may be made in whole or in part under a federal program,

that is, the Defendant caused Integrity Medical Supply to pay R&L Marketing for orders for

orthotic braces that R&L Marketing sent or caused to be sent to Integrity Medical Supply.




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 Count      Date of Kickback     Amount of Kickback        Paid to              Payor
            Payment              Payment
 9          01/04/2018           $7,000                    R&L Marketing        Integrity Medical
 10         03/20/2018           $7,500                    R&L Marketing        Integrity Medical
 11         09/06/2018           $170,000                  R&L Marketing        Integrity Medical
 12         09/28/2018           $225,000                  R&L Marketing        Integrity Medical
 13         10/26/2018           $194,000                  R&L Marketing        Integrity Medical
 14         11/08/2018           $170,000                  R&L Marketing        Integrity Medical
 15         11/16/2018           $110,000                  R&L Marketing        Integrity Medical

All in violation of Title 42, United States Code, Section 1320a-7b(b)(2)(A) and Title 18, United

States Code, Section 2.

                                FORFEITURE ALLEGATION

        The Grand Jury further finds by probable cause that:

       1.    Pursuant to Title 18, United States Code, Section 982(a)(7), upon conviction of an

offense in violation of Title 42, United States Code, Section 1320a-7b or Title 18, United States

Code, Sections 1035 and 1347, as set forth in Counts 1 to 15, the Defendant shall forfeit to the

United States of America any property, real or personal, that constitutes or is derived, directly or

indirectly, from gross proceeds traceable to the commission of the offense. Subject to forfeiture

is a sum of money equal to the total value of any property, real or personal, constituting or

derived from any proceeds traceable to said offense.

       2.      Specific property subject to fo1feiture includes:

            a) $23,881.00 in funds from Bank Account #0087767678 in the name oflntegrity
               Medical Supply, LLC at Regions Bank, O'Fallon, MO

            b) $178,964.25 in funds from Bank Account #8015831091 in the name of Integrity
               Medical Supply, LLC at Renasant Bank at Tupelo, MS

            c) $6,219.62 in funds from Bank Account #027022-5591 in the name of Ava Ware
               at Regions Bank, O'Fallon, MO

                                                 19
            d) $40,914.83 in funds from Bank Account #019191-3209 in the name of Jackson
               Siples at Regions Bank, O'Fallon, MO

       3.      If any of the property described above, as a result of any act or omission of the

Defendant:

               a.       cannot be located upon the exercise of due diligence;

               b.       has been transferred or sold to, or deposited with, a third party;

               c.       has been placed beyond the jurisdiction of the court;

               d.       has been substantially diminished in value; or

               e.      has been commingled with other prope11y which cannot be divided

                       without difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).

                                                     A TRUE BILL.




                                                     FOREPERSON

SAYLER A. FLEMING
United States Attorney



DOROTHY L. McMURTRY, #37727MO
Assistant United States Attorney




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